USDC IN/ND case 3:12-cr-00067-JD-CAN                document 138        filed 12/21/12      page 1 of 9


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                           )
                                                    )
        v.                                          )   Case No. 3:12-CR-067 JD
                                                    )
 OMAR DURAN LAGUNES (01)                            )
 MARGARITO FUENTES REYES (02)                       )
 RAUL RAFAEL ROMAN CAMACHO (03)                     )
 LUIS OMAR MONTES MERINO (04)                       )
 YALITZA EXCLUSA BORRERO (05)                       )
 EVELYN RIVIERA BORRERO (06)                        )

                                         Opinion and Order

        Pending before the Court is a motion by Raul Rafael Roman Camacho—now also joined

 by his co-defendants—to dismiss the indictment in this case. See DE 102. The issue is fully

 briefed and ripe for adjudication. See DE 109, DE 115. For the following reasons, the Court

 denies the motion to dismiss.

                                             Background

        On June 14, 2012, a grand jury returned a two-count indictment against the six

 defendants in this case. See DE 1. Both counts of the indictment allege a conspiracy to commit

 substantive offenses. Count 1 alleges that the defendants knowingly and intentionally conspired

 to commit substantive immigration offenses in violation of 8 U.S.C. §

 1324(a)(1)(A)(v)(I)—specifically, that they conspired to “encourage and induce aliens to come

 to, enter, and reside in the United States, knowing and in reckless disregard of the fact that such

 coming to, entry, and residence was and would be in violation of law,” in violation of 8 U.S.C. §

 1324(a)(1)(A)(iv), and “to conceal, harbor, or shield aliens from detection knowing and in

 reckless disregard of the fact that an alien had come to, entered, or remained in the United States

 in violation of law,” in violation of 8 U.S.C. § 1324(a)(1)(A)(iii); it is alleged that both
USDC IN/ND case 3:12-cr-00067-JD-CAN                document 138        filed 12/21/12     page 2 of 9


 objectives were done “for private gain and commercial advantage,” subjecting the defendants to

 enhanced penalties under 8 U.S.C. § 1324(a)(1)(B)(i). Count 2 alleges that the defendants

 knowingly and intentionally conspired to commit mail fraud, in violation of 18 U.S.C. § 1349,

 specifically to commit the offense of mail fraud in furtherance of the conspiracy described in

 Count 1, in violation of 18 U.S.C. § 1341.

        The narrative accompanying Count 1 sets out in rich detail both some of the means by

 which the conspiracy violated the underlying laws and some of the overt acts that members of

 the conspiracy undertook in furtherance of its objectives. Before the Indiana Bureau of Motor

 Vehicles (BMV) will issue a vehicle registration, license plate, or title to an individual, the BMV

 verifies the individual’s social security number, name, and date of birth. As a consequence,

 undocumented aliens without valid social security numbers cannot obtain registrations, license

 plates, or titles for their vehicles. The defendants, under the direction of Omar Duran Lagunes,

 operated a business at several locations throughout the State of Indiana—primarily in the

 Southern District of Indiana but also at locations in the Northern District—that helped

 undocumented aliens obtain these items, notwithstanding the obstacles erected by the BMV.

        This was accomplished by exploiting a loophole in the BMV regulations: although

 individuals cannot register, title, or plate their vehicles without valid social security numbers,

 corporations and limited liability companies (which do not have social security numbers) need

 only Employer Identification Numbers from the Internal Revenue Service. The defendants

 therefore helped undocumented aliens circumvent the BMV’s social security number

 requirement by creating individual LLC’s in the aliens’ names, registering the LLC’s with the

 Indiana Secretary of State, obtaining Employer Identification Numbers from the IRS, and then

 obtaining registrations, license plates, and titles for the vehicles from the BMV in the name of

                                                   2
USDC IN/ND case 3:12-cr-00067-JD-CAN                document 138        filed 12/21/12     page 3 of 9


 the LLC. Along the way, the defendants allegedly counseled their customers to evade taxes by

 reporting false values for their vehicles, and in some cases, at least, falsely notarized documents

 that were submitted to the BMV. Many of the official transactions in this case were made via

 United States mail.

                                               Analysis

        “An indictment is legally sufficient if it (1) states all the elements of the crime charged;

 (2) adequately informs the defendant of the nature of the charges so that he may prepare a

 defense; and (3) allows the defendant to plead the judgment as a bar to any future prosecutions.”

 United States v. White, 610 F.3d 956, 958 (7th Cir. 2010) (citing See Fed.R.Crim.P. 7(c)(1);

 United States v. Smith, 230 F.3d 300, 305 (7th Cir. 2000)). While in many cases, an indictment

 need do little more than track the words of a statute, in other cases additional detail will be

 necessary to inform a defendant of the “gravamen of the alleged offense.” See United States v.

 Hinkle, 637 F.2d 1154, 1157–58 (7th Cir. 1981) (holding an indictment insufficient where it

 charged defendant with using a telephone to facilitate in some manner one of several unspecified

 acts with some unspecified controlled substances). An indictment need not, however, detail the

 government’s evidence or identify all the facts supporting the allegations. See United States v.

 Resendiz-Ponce, 549 U.S. 102, 110 (2007).

        To prove its conspiracy charge, the Government must show (1) an agreement to

 accomplish an illegal objective; (2) one or more overt acts in furtherance of this purpose; and (3)

 an intent to commit one or both of the substantive offenses.” United States v. Cueto, 151 F.2d

 620, 623 (7th Cir. 1998). To convict each defendant, the Government will need to prove that not

 only did the conspiracy alleged exist, but that the defendant knew of the conspiracy and intended

 to join and further the conspiracy’s aims. See United States v. Hunt, 272 F.3d 488, 495 (7th Cir.

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USDC IN/ND case 3:12-cr-00067-JD-CAN                        document 138            filed 12/21/12        page 4 of 9


 2001).

          The indictment in this case is clearly sufficient because it alleges the elements laid out

 above and provides ample detail to inform the defendants of the gravamen of the charges. Count

 1 alleges an agreement between the defendants (and perhaps others) to accomplish two illegal

 objectives—“to encourage and induce aliens to come to, enter, and reside in the United States,”

 in violation of § 1324(a)(1)(A)(iv), and “to conceal, harbor, or shield aliens from detection,” in

 violation of § 1324(a)(1)(A)(iii), both “for private gain and commercial advantage” and therefore

 subject to enhanced penalties under § 1324(a)(1)(B)(i).1 The indictment also alleges the

 defendants’ state of mind: they conspired “knowingly and intentionally” and the conspiracy

 sought its objective “knowing and in reckless disregard of the fact that” the aliens were in the

 United States in violation of law. The indictment then provides significant detail regarding the

 principal (though not necessarily exclusive) means by which the conspiracy pursued its illegal

 objective and some of the significant overt acts that members of the conspiracy undertook in

 furtherance of the illegal objective. Likewise, Count 2 sets out the illegal objective (mail fraud in

 furtherance of the conspiracy alleged in Count 1, in violation of 18 U.S.C. § 1341), the required

 state of mind (knowingly and intentionally), and some of the overt acts in furtherance of the mail

 fraud conspiracy (cross referencing the detailed allegations of Count 1). These allegations are

 more than sufficient to sustain the indictment, and thus the motion must be denied.



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           Mr. Roman-Camacho characterizes Count 1 as charging him with two separate crimes—§
 1342(a)(1)(A)(iii) and § 1324(a)(1)(A)(iv). If that characterization were accurate, it would make the indictment
 unlawfully duplicitous. As the government points out, however, it is well established that it is not duplicitous to
 charge the defendants with a single conspiracy with multiple illegal objectives. See Braverman v. United States, 317
 U.S. 49, 54 (1942) (“The single agreement is the prohibited conspiracy, and however diverse its objects it violates
 but a single statute.”); United States v. Vallone, 698 F.3d 416, 461 (7th Cir. 2012) (“A duplicitous charge is not one
 that simply alleges a single offense committed by multiple means, but rather one that joins two or more distinct
 crimes in a single count.”).

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USDC IN/ND case 3:12-cr-00067-JD-CAN                document 138         filed 12/21/12      page 5 of 9


        What Mr. Roman-Camacho appears to argue, however, is not so much that the indictment

 is insufficient on its face but rather that the Government could not possibly produce evidence at

 trial that would allow a jury to convict him, or the other defendants, of the crimes alleged. This is

 because, he argues, the means identified in the indictment—assisting undocumented aliens to

 exploit a loophole in BMV regulations and obtain vehicle registrations that they could not

 otherwise get due to their immigration status—cannot, under any circumstances, constitute

 encouraging or inducing, or concealing, harboring, or shielding. “[W]hen evaluating the

 sufficiency of an indictment, we focus on its allegations, which we accept as true. Challenging

 an indictment is not a means of testing the strength or weakness of the government’s case, or the

 sufficiency of the government’s evidence.” United States v. Moore, 563 F.3d 583, 586 (7th Cir.

 2009). Rather, the narrow question before the Court is “whether it’s possible to view the conduct

 alleged as an agreement” to conceal, harbor, or shield, and induce or encourage undocumented

 aliens. Id. (emphasis added).

        In this case, it is indeed possible to view the alleged conduct as an agreement to violate 8

 U.S.C. § 1324(a)(1)(A)(iii) and (iv) and an agreement to commit mail fraud in violation of 18

 U.S.C. § 1341. Regarding the immigration offenses, the government has alleged that the object

 of the conspiracy was to “conceal, harbor, and shield from detection aliens who are present in

 and remain in the United States in violation of the immigration laws “ and to “encourage and

 induce aliens to come to, enter, and reside in the United States,” by giving false information and

 documents regarding the identity of the owners of motor vehicles to the BMV and the Secretary

 of State, and that this was all done for financial gain. It is alleged that they did so primarily

 (though not necessarily exclusively) by assisting aliens to obtain vehicle registrations, license

 plates, and titles, notwithstanding BMV policies designed to prevent individuals without social

                                                    5
USDC IN/ND case 3:12-cr-00067-JD-CAN                       document 138          filed 12/21/12        page 6 of 9


 security numbers from obtaining these items.

         The alleged objectives are clearly prohibited by the statute, so this is not a case like

 United States v. Enmons, 410 U.S. 396 (1973) in which the objective alleged—in that case,

 forcing a favorable labor agreement—falls outside the scope of the statute. And at this juncture,

 the Court must assume that the government will prove that the defendants agreed to pursue the

 illegal objectives alleged in the indictment.2 Further, the government correctly notes that the

 actions alleged need not necessarily themselves constitute the substantive immigration crimes

 because “[t]he crime of conspiracy is the agreement itself.” United States v. Corson, 579 F.3d

 804, 810 (7th Cir. 2009). The only question is whether it is possible to view the types of means

 and actions alleged as overt acts in furtherance of those agreed illegal objectives. Whether the

 alleged scheme made the conspiracy’s customers less (or more, as Mr. Roman-Camacho claims)

 likely to be detected as undocumented aliens, or whether the services the defendants provided

 encouraged or induced aliens to reside in the United States, are questions of fact that can not be

 decided without a trial. The Court is satisfied that it is not inconceivable that the government

 could prove that the alleged actions could have furthered an agreement to pursue the objectives

 of concealing, harboring, and shielding aliens from detection and inducing or encouraging them

 to reside in the United States. See United States v. Ye, 588 F.3d 411, 415 (7th Cir. 2009)

 (approving jury instruction defining “shielding” as “the use of any means to prevent the

 detection of illegal aliens in the United States by the Government”); United States v. Shum, 496

 F.3d 390, 392 (5th Cir. 2007) (holding that providing false identification and failing to file social

         2
            Thus, the Court does not decide, in this order, whether evidence that the defendants agreed solely to
 engage in the means and actions alleged would, standing alone, be sufficient to prove an agreement to pursue the
 alleged illegal objectives. That is a question more properly addressed in a motion under Rule 29 after the
 government has presented its evidence because it is quite possible that the government will produce evidence
 showing that the defendants assisted the aliens in other ways.

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USDC IN/ND case 3:12-cr-00067-JD-CAN               document 138        filed 12/21/12      page 7 of 9


 security paperwork were “steps that would shield [aliens] identities from detection” and make it

 “easier for aliens to remain in the United States illegally); United States v. Ndiaye, 434 F.3d

 1270, 1296 (11th Cir. 2006) (defendants “encourage or induced” one alien to reside in the United

 States by helping fraudulently obtain a social security number that he was not entitled to have);

 United States v. Oloyede, 982 F.2d 133 (4th Cir. 1992) (upholding conviction for selling false

 citizenship papers:“While offering [aliens] a chance to stand equally with all other American

 citizens, defendants encouraged them to continue to reside here”). Thus, it is indeed possible to

 view the conduct alleged in the complaint as an agreement to accomplish the illegal objectives

 charged.

        Mr. Roman-Camacho’s argument draws heavily on the recent Seventh Circuit decision in

 United States v. Costello, 666 F.3d 1040 (7th Cir. 2012), which overturned a conviction under

 the harboring prong of § 1324(a)(1)(A)(iii) where the defendant did nothing more than provide a

 place for her boyfriend, whom she knew was in the country illegally, to stay. Costello is

 undoubtedly an important precedent for this case, and does indeed try to place limits on the

 conduct that the government may reach under the statute in question. But a brief look at Costello

 also reveals why dismissing the case at this stage is inappropriate. There was no question that

 providing a house for someone known to be an illegal alien could constitute the crime of

 harboring under § 1324(a)(1)(A)(iii), if the intention was to provide a “secure haven, a refuge, a

 place to stay in which the authorities are unlikely to be seeking him.” Id. at 1050. Rather, what

 the court decided there is that simply providing shelter, without more, does not violate the statute

 and that given the evidence—or lack thereof—produced at trial, the government had not proved

 harboring in that case. Similarly, the alleged actions in this case could have violated the statute,

 but the Court will not be able to decide whether they actually did until the issue has been tried.

                                                   7
USDC IN/ND case 3:12-cr-00067-JD-CAN                        document 138            filed 12/21/12         page 8 of 9


          Finally, Mr. Roman-Camacho also seeks to distinguish a long list of authority from other

 circuits provided by the government in support of its position by arguing that the indictment in

 this case stretches the statute farther than any of those cases. Again, while those precedents will

 certainly inform this Court’s determination of whether the government has presented sufficient

 evidence to permit conviction, they certainly weaken Mr. Roman-Camacho’s position at this

 stage because not a single one of those cases was decided on a motion to dismiss the indictment.

 Indeed, Mr. Roman-Camacho has not provided a single example of a case in which an

 indictment alleging violations of § 1324(a) was dismissed before trial for exceeding the reach of

 the statute.3

          With regard to the mail-fraud conspiracy alleged in Count 2, the analysis is even more

 straightforward. Mr. Roman-Camacho does not specifically address Count 2, but given his

 arguments in this motion and elsewhere, the Court surmises that he contends that the alleged

 scheme was not, in fact, fraudulent and that the use of the United States mail in furtherance of

 the scheme would not violate 18 U.S.C. § 1341. But whether the underlying scheme in fact

 defrauded the BMV or the Secretary of State or merely took advantage of a legal loophole, and

 whether the defendants used the mail in furtherance of their scheme is a question of fact for trial.

 On the face of the indictment, it is certainly possible that the government could prove that the

 defendants agreed to fraudulently obtain registrations and plates from the BMV and used the



          3
           Mr. Roman-Camacho also argues, somewhat obscurely, that allowing the government to prosecute the acts
 alleged in the indictment would raise federal preemption concerns because it would allow the states to interfere with
 federal immigration policy by determining what privileges are “benefits of citizenship,” and that such state decisions
 would be enforceable under federal law. This argument misses the mark. The government is not prosecuting a
 violation of BMV regulations in this case, and there is no need for an action to be independently illegal before it can
 violate the immigration statute in question—there is nothing inherently illegal about providing housing or
 transportation to one’s employees, but such actions can indeed violate § 1324(a) if done for known illegal aliens for
 the purpose of harboring them or encouraging them to reside illegally in the United States.

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USDC IN/ND case 3:12-cr-00067-JD-CAN        document 138        filed 12/21/12   page 9 of 9


 mail to do so.

                                       Conclusion

        Accordingly, the Court DENIES the Defendant Raul Rafael Roman Camacho’s Motion

 to Dismiss [DE 102].

        SO ORDERED.

        ENTERED: December 21, 2012


                                                /s/ JON E. DEGUILIO
                                         Judge
                                         United States District Court




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